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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    GREGORY GODFREY, et al.,
                                                           Case No. 1:18-cv-07918
                         Plaintiffs,
                                                           Judge Matthew F. Kennelly
    v.
                                                           Magistrate Judge Michael T. Mason
    GREATBANC TRUST COMPANY, et al.,

                         Defendants.




    PLAINTIFFS’ UNOPPOSED MOTION AND INCORPORATED MEMORANDUM OF
             LAW FOR PRELIMINARY APPROVAL OF SETTLEMENT

         Plaintiffs Gregory Godfrey (“Godfrey”), Jeffery Sheldon (“Sheldon”), and Debra Ann

Kopinski (“Kopinski”) (collectively “Plaintiffs”), as representatives of a Class of similarly

situated persons, and on behalf of the McBride & Son Employee Stock Ownership Plan (the

“Plan”) hereby move for an order preliminarily approving a class action settlement agreement,

approving notice to the Settlement Class, 1 and setting a date for a fairness hearing. The proposed

Settlement is between Plaintiffs and Defendants McBride & Son Capital, Inc. (“MS Capital”),

McBride & Son Management Company, LLC (“MS Management”), John F. Eilermann, Jr.

(“Eilermann”), Michael D. Arri (“Arri”) (collectively “McBride Defendants”), and Defendant

GreatBanc Trust Company (“GreatBanc”). 2




1
  If not defined in this document, capitalized terms have the meaning given to them in the Class Action
Settlement Agreement.
2
  McBride Defendants and GreatBanc are collectively referred to herein as Defendants. Plaintiffs and
Defendants are collectively referred to herein as the “Parties.”
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I.       INTRODUCTION

         Subject to the Court’s approval, the Parties have settled this Employee Retirement

Income Security Act, 29 U.S.C. § 1000, et seq., (“ERISA”) matter for a gross settlement amount

of $16,500,000 that Defendants will pay into a common fund for the benefit of Class Members.

This is a significant recovery for the Settlement Class and falls well within the range of

negotiated settlements in similar ERISA cases. No portion of the settlement payment is a tax or

penalty under ERISA or the Internal Revenue Code of 1986 as amended. Should the Court grant

final approval, every eligible member of the class will receive their portion of the Net Settlement

Fund according to a Plan of Allocation.

         The proposed settlement (the “Settlement”) satisfies all of the criteria for preliminary

approval. The Settlement provides an excellent result for the class under the circumstances. For

these reasons, discussed in more detail below, Plaintiffs request that the Court: (a) grant

preliminary approval of the Settlement Agreement attached as Exhibit A to the Declaration of

Mark G. Boyko (the “Boyko Decl.”); (b) approve the proposed Class Notice attached as Exhibit

A to the Proposed Preliminary Approval Order; (c) appoint ILYM Group, Inc. (“ILYM”) as the

Settlement Administrator; (d) approve the Plan of Allocation attached as Exhibit 2 to the

Settlement Agreement; (e) appoint ILYM as Escrow Agent; (f) set a date for a Fairness Hearing,

and (g) set a date for a hearing on Class Counsel’s motion for fees and costs and the payment of

a Service Award to Plaintiffs.

II.      FACTUAL AND PROCEDURAL BACKGROUND

         A.     Background

         This is a class action brought on behalf of participants and beneficiaries of the Plan that

alleges McBride Defendants and GreatBanc violated ERISA in connection with three



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transactions: (1) a Recapitalization in late 2013 of MS Companies, Inc. to a partnership (the

“2013 Recapitalization”); (2) the payment of excessive compensation to executives, including

the distribution of Class B and Class C Units of MS Companies, LLC from 2013–2017, thereby

diluting the value of the Plan (the “Compensation Decisions”); and (3) the purchase of all the

shares of MS Capital stock held by the Plan at a below fair market price of $187 for a total of

consideration of $16,493,664, which consisted of 80,094.3643 shares for $14,977,646 in cash

and 8,107.0476 shares for loan forgiveness (the “2017 Transaction”).

        In Counts I and II of the Second Amended Complaint, Dkt. 127 (the “SAC”), Plaintiffs

allege that GreatBanc, MS Management, Eilermann, and Arri (1) violated ERISA § 406(a) in

connection with the 2013 Recapitalization by causing the Plan to directly transfer property of the

Plan, MS Companies, Inc., to MS Capital and causing the Plan to indirectly transfer property of

the Plan, MS Companies, Inc. stock, to and for the use and benefit of Eilermann and Arri and (2)

violated ERISA § 406(b) in connection with the 2013 Recapitalization by causing the Plan to

exchange MS Companies, Inc. stock for MS Capital stock for less than adequate consideration,

which greatly benefited MS Management, MS Capital, Eilermann, and Arri as they ultimately

took control and ownership of MS Companies, Inc., to the substantial detriment of the Plan. 3

        In Counts III through VI of the SAC, Plaintiffs allege that Defendants GreatBanc, MS

Management, Eilermann and Arri violated their fiduciary duties to the Plan pursuant to ERISA §

404 and are personally, and jointly and severally, liable under ERISA §§ 405(a), 409(a), and

502(a)(2) for, among other things, causing the Plan to exchange MS Companies, Inc. stock with

MS Capital for MS Capital stock for less than adequate consideration and failing to make a good

faith determination of the fair market value of MS Companies, Inc. stock and MS Capital stock.


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 In describing the Counts I-XVII below, Plaintiffs have omitted the parties dismissed from various claims
pursuant to the Court’s August 19, 2020 order. Dkt. 154.

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Plaintiffs further allege that Eilermann and Arri knowingly participated in the fiduciary breaches

and prohibited transactions associated with the 2013 Recapitalization in violation of ERISA §

502(a)(3) because they had actual knowledge of the circumstances that made the 2013

Recapitalization unlawful and proceeded to knowingly participate in the fiduciary breaches in

connection with the 2013 Recapitalization.

       In Counts VII through X of the SAC, Plaintiffs allege that Defendants GreatBanc

Eilermann, and Arri violated their fiduciary duties to the Plan pursuant to ERISA § 404 and are

personally, and jointly and severally, liable under ERISA §§ 405(a), 409(a), and 502(a)(2) for,

among other things, failing to prevent the alleged excessive compensation paid from 2013 to

2017 which diluted the value of MS Capital stock. Plaintiffs allege that Eilermann and Arri

knowingly participated in the fiduciary breaches associated with the Compensation Decisions in

violation of ERISA § 502(a)(3) because they had actual knowledge of the circumstances that

made the compensation unlawful and knowingly participated in the fiduciary breaches.

       In Counts XI and XII of the SAC, Plaintiffs allege that Defendants GreatBanc and MS

Capital violated ERISA § 406(a) in connection with the 2017 Transaction by causing the Plan to

sell property of the Plan, MS Capital stock, to MS Capital for less than adequate consideration

and ERISA § 406(b) in connection with the 2017 Transaction by causing the Plan to sell MS

Capital stock to MS Capital at a price below fair market value which benefited MS Capital,

Eilermann, Arri, Schindler, and Todt as they ultimately took control and ownership of MS

Capital after the 2017 Transaction, to the detriment of the Plan.

       In Counts XIII through XVI of the SAC, Plaintiffs allege that Defendants GreatBanc and

MS Capital, as fiduciaries to the Plan in connection with the 2017 Transaction, violated their

fiduciary duties to the Plan pursuant to ERISA § 404 and are personally, and jointly and



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severally, liable under ERISA §§ 405(a), 409(a), and 502(a)(2) for, among other things, causing

the Plan to sell MS Capital stock to MS Capital for less than adequate consideration and at a

price below fair market value in the 2017 Transaction and failing to make a good faith

determination of fair market value of MS Capital stock in the 2017 Transaction. Plaintiffs further

allege that Eilermann and Arri knowingly participated in the fiduciary breaches and prohibited

transactions associated with the 2017 Transaction in violation of ERISA § 502(a)(3) because

they had actual knowledge of the circumstances that made the 2017 Transaction unlawful and

knowingly participated in the fiduciary breaches.

       In Count XVII of the SAC, Plaintiffs allege that Defendants MS Capital, Eilermann and

Arri, as fiduciaries to the Plan, violated ERISA § 404 when they failed to properly monitor

GreatBanc as trustee in connection with the 2013 Recapitalization, Compensation Decisions, and

2017 Transaction and failed to remove GreatBanc as trustee after their actions and fiduciary

breaches.

       Defendants deny all of these allegations; deny liability; and have vigorously defended

themselves in the Lawsuit. Defendants do not admit wrongdoing of any kind regarding the 2013

Recapitalization, the Compensation Decisions, or the 2017 Transaction.

       B.      Discovery

       The Parties have diligently prosecuted this action and have engaged in robust discovery.

They propounded and responded to written discovery. Boyko Decl. ¶ 10. The Parties engaged in

extensive discovery including exchanging and responding to Interrogatories and Requests for

Documents. Id. The Parties’ counsel received and reviewed approximately 100,000 pages of

discovery produced by the Parties and various third Parties. Id. Class Counsel retained and

consulted with four experts, who prepared detailed reports and analyses on valuation, due



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diligence, and compensation. Id. Defendants’ counsel likewise retained and consulted with five

experts, who prepared reports on similar topics. Id. Each side deposed all the experts on the other

side. Id. The Parties also took fourteen fact depositions of eleven different witnesses. Id. Plaintiff

took the depositions of four current or former McBride executives, one non-executive McBride

employee, one GreatBanc executive, McBride’s investment banker, and GreatBanc’s financial

advisor. Id. All of these depositions were attended by Defendants’ counsel, who also examined

some of those witnesses. Id. Defendants took the deposition of the three named Plaintiffs. Id.

       C.      Motion Practice

       During the course of this litigation, the Parties have engaged in extensive motions

practice. Plaintiffs filed their first Complaint on November 30, 2018 (see Dkt. 1), First Amended

Complaint (the “FAC”) on March 29, 2019 (see Dkt. 36), and the SAC on February 26, 2020.

See Dkt. 127. McBride Defendants filed Motions to Dismiss the Complaint, FAC, and SAC (see

Dkts. 23, 48, 111) and GreatBanc filed Motions to Dismiss the Complaint and the SAC. Dkts.

26, 114. The Court issued an opinion on September 26, 2019 that granted in part and denied in

part McBride Defendants’ motion to dismiss the FAC (Dkt. 74) and issued an opinion on August

19, 2020 that granted in part and denied in part McBride Defendants’ motion to dismiss the SAC

and denied GreatBanc’s motion to dismiss the SAC. Dkt. 154. The Parties also litigated several

discovery-related motions. See Dkts. 30, 82, 85, 180, 191, 215.

       Plaintiff filed a Motion for Class Certification on September 16, 2020. Dkt. 158.

Defendants filed a joint opposition to this Motion on October 7, 2020. Dkt. 166. The Court

granted Plaintiffs’ Motion and certified the following Class under Rule 23(b)(1):

       All participants in the McBride & Son Employee Stock Ownership Plan, and the
       beneficiaries of such participants, at any time between December 31, 2013 and December
       15, 2017. Excluded from the proposed Class are (1) Defendants Eilermann and Arri, their
       immediate families, and their legal representatives, successors, and assigns, and (2) any

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       owners of Class B and Class C Units of McBride & Son Companies, LLC (“MS
       Companies, LLC”) during the class period including Jeffrey Berger, Jeffrey Schindler,
       and Jeffrey Todt.

Dkts. 205, 207.

       The Parties filed motions to exclude certain evidence in advance of summary judgment

briefing. On June 18, 2021, Defendants filed a Motion to Strike portions of Plaintiff’s expert

Daniel VanVleet’s testimony. Dkt. 223. Plaintiffs filed an opposition to this Motion on June 28,

2021. Dkt. 231. The Court granted Defendants’ Motion on August 30, 2021. Dkt. 248. On June

24, 2021, Plaintiffs filed a Motion to Exclude Evidence Pursuant to Rule 37(c)(1). Dkt. 227.

Defendants filed an opposition to this Motion on July 6, 2021. Dkt. 242. On August 30, 2021, the

Court denied Plaintiffs’ Motion but permitted additional discovery. Dkt. 248.

       Defendants filed Motions for Summary Judgment on November 12, 2021. Docs. 257,

260. Plaintiffs filed a Partial Motion For Summary Judgment against McBride Defendants and

GreatBanc on January 14, 2022. Docs. 265, 266. The Parties submitted extensive oppositions and

replies to the Summary Judgment Motions and Partial Summary Judgment Motions, which were

fully briefed as of April 4, 2022.

       D.      The Parties’ Settlement Efforts

       The Parties attempted to resolve this matter with mediator Robert A. Meyer, Esq. of

JAMS. Boyko Decl. ¶ 12. The Parties submitted mediation statements to Mr. Meyer. Id. Counsel

for the Parties attended a one-day in-person and partly virtual mediation at the JAMS offices in

New York on July 28, 2021. Id. The attendees vigorously engaged in the mediation process,

during which the Parties’ counsel each gave presentations to Mr. Meyer. Id. Despite much

deliberation, discussion, and compromise, the Parties were not able to reach a resolution at that

time. Id. Consequently, after summary judgment briefing was submitted by all side, the Parties



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engaged in another all-day virtual mediation on April 7, 2022 with the same mediator. Id.

Vigorous negotiations continued between the Parties, facilitated by the continued involvement of

the mediator, resulting in the execution by the Parties of a settlement Term Sheet on April 18,

2022. Id.

III.   SUMMARY OF THE PROPOSED SETTLEMENT TERMS

       The material terms of the Settlement Agreement include the following:

       A. Class. The Court has already certified the Settlement Class as follows:

       All participants in the McBride & Son Employee Stock Ownership Plan, and the
       beneficiaries of such participants, at any time between December 31, 2013 and December
       15, 2017. Excluded from the proposed Class are (1) Defendants Eilermann and Arri, their
       immediate families, and their legal representatives, successors, and assigns, and (2) any
       owners of Class B and Class C Units of McBride & Son Companies, LLC (“MS
       Companies, LLC”) during the class period including Jeffrey Berger, Jeffrey Schindler,
       and Jeffrey Todt.

Dkts. 205, 207.

       B. Benefits to the Settlement Class.

       Monetary relief. Defendants will pay a total of $16,500,000.00 (“Settlement Amount”)

into the Settlement Fund Account. The Settlement Amount, less all (i) taxes (or reserves to pay

taxes), (ii) settlement administration fees, (iii) Court-approved attorneys’ fees and expenses, and

(iv) Service Awards to the Plaintiffs, shall constitute the Net Settlement Fund. The Net

Settlement Fund will be distributed to members of the Settlement Class pursuant to the Plan of

Allocation.

       C.      Notice and Administration. The Settlement Administrator, ILYM, shall be

responsible for disseminating Class Notice, establishing a website for key case documents,

establishing an interactive voice response system to respond to enquiries, and processing

payment instructions. The Settlement Administrator shall also implement the Plan of Allocation,



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subject to oversight of Class Counsel, and determine the amounts to be allocated to members of

the Settlement Class in accordance with the Plan of Allocation. Each Class Member’s share of

the Net Settlement Fund (“Class Member Benefit”) shall be determined through the following

process:

               a. McBride shall report to the Settlement Administrator the number of vested

                   Shares 4 held by each Class Member as of the following dates: December 31,

                   2013; December 31, 2014; December 31, 2015; December 31, 2016; and

                   November 30, 2017. The total of each participants’ vested Shares as of

                   December 31, 2013, December 31, 2014, December 31, 2015, December 31,

                   2016, and November 30, 2017 shall be called the Class Member’s “Yearly

                   Vested Shares.” For purposes of the November 30, 2017 Yearly Vested

                   Shares determination, participants who were cashed out of their ESOP

                   accounts in October or November 2017 at the share price used in the 2017

                   Transaction will be deemed to have held on November 30, 2017 the greatest

                   number of shares they held at any point from October 31, 2017 through

                   November 30, 2017.

               b. The Settlement Administrator shall, for each Class Member, calculate the sum

                   of that Class Member’s Yearly Vested Shares. This sum shall be that Class

                   Member’s “Cumulative Vested Shares.”

               c. The Settlement Administrator shall calculate the grand total of all Class

                   Members’ Cumulative Vested Shares. This sum shall be called the “Total

                   Class Shares.”


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 Shares is defined as shares of McBride & Son Capital, Inc. stock held inside the ESOP from December
31, 2013 through November 30, 2017.

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               d. The Settlement Administrator shall, for each Class Member, divide the Class

                   Member’s Cumulated Vested Shares by the Total Class Shares. The resulting

                   number shall be called that Class Member’s “Class Member Percentage.”

               e. The Settlement Administrator shall, for each Class Member, multiply that

                   Class Member’s Class Member Percentage by the Net Settlement Fund

                   amount. The resulting number shall constitute that Class Member’s Class

                   Member Benefit.

       ILYM shall be responsible for establishing and maintaining a qualified settlement trust to

hold the Settlement Amount. Pending the distribution of the Net Settlement Fund to the Class

Members, ILYM shall invest the assets of the qualified settlement trust pursuant to the

agreement between ILYM and Class Counsel. ILYM’s summary of experience is Exhibit B to

the Boyko Declaration.

       D.      Service Award to Plaintiff and Attorneys’ Fees and Costs

       Subject to Court approval, Class Counsel’s fees, costs and expenses, and Service Award

payments to Plaintiffs shall be paid from the Settlement Amount prior to distribution to the Class

Members of the Net Settlement Fund as described in the Settlement Agreement. Plaintiffs may

petition the Court for an award not to exceed $25,000 each in recognition of Plaintiffs’ services

as class representative. Each Plaintiff shall also be entitled to an allocation under this settlement

as a Class Member. Class Counsel will petition the Court for an award of attorneys’ fees and




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expenses not to exceed $6,479,000 million ($5,500,000 for attorneys’ fees 5 and $979,000 for

expenses 6).

         E.     Release of Claims

         Upon satisfaction of the conditions required by the Settlement Agreement, the Parties

will release each other from claims related to the Lawsuit. The releases are set forth in greater

detail in Article III of the Settlement Agreement.

         F.     Notice and Proposed Schedule of Events

         The Settlement Agreement provides that the Parties shall provide the Settlement

Administrator with the names and last known addresses of Class Members for the purpose of

providing notice of the proposed settlement.

         The proposed Class Notice, Exhibit A to the Proposed Preliminary Approval Order,

provides all the information necessary to inform the Class Members about the nature of the

Lawsuit, the terms of the Settlement, including both monetary and prospective relief, and the

procedures for entering an appearance to be heard or to object to the Settlement. In addition,

Class Counsel will make available to Class Members key court documents, including the SAC,

the Settlement Agreement, this Motion and preliminary approval papers, Plaintiffs’ Motion for

Award of Attorneys’ Fees, and Plaintiffs’ Motion for Final Approval via a website established

and maintained by the Settlement Administrator. The Class Notice will be mailed by U.S. mail,

first class. Class Members’ last known addresses will be drawn from McBride’s employment

records and from those of the recordkeeper to the Plan’s successor plan. Accordingly, it is



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  The maximum fee to be sought by Class Counsel has been calculated under the standard set by In re
Synthroid Mktg. Litig., 325 F.3d 974, 978-80 (7th Cir. 1992) (“Synthroid II”), which this Court has
applied in several prior orders.
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  As of preliminary approval, Class Counsel’s expenses are $962,226.33. Class Counsel will incur
additional expenses including for appearance at the preliminary approval and fairness hearings.

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anticipated that valid mailing addresses for most of the Class Members will be readily accessible.

For undelivered or returned mail to Class Members, the Settlement Administrator will engage in

various, standardized processes to identify and locate Class Members.

        Plaintiffs and Defendants agree to the schedule of events as described in the Proposed

Preliminary Approval Order as subject to the Court’s approval.

IV.     ARGUMENT

        A.      The Court should grant preliminary approval of the Settlement because it is
                fair, reasonable and adequate.

                1.      The standards for preliminary approval.

        Federal Rule of Civil Procedure 23(e) provides that a class action cannot be settled or

compromised without approval by the court. Judicial approval is required regardless of whether

the action is certified for trial and later settled or is certified for purposes of settlement. Manual

for Complex Litigation (Fourth) § 21.61 (2004). Ultimately, to approve the proposed settlement

the Court must determine that it is fair, reasonable and adequate. Kaufman v. Am. Express Travel

Related Servs. Co., Inc., 877 F.3d 276, 283 (7th Cir. 2017).

        Before a court approves a proposed settlement, notice must be provided to the class. Fed.

R. Civ. P. 23(e)(1). The parties must provide the court with information sufficient to enable the

court to determine whether to give such notice of the proposal to the class. Id. The court

examines the information provided by the parties against a number of factors to determine

whether notice should be given to the class. Id.

        The 2018 Amendments to Rule 23, effective December 1, 2018, provide guidance to

federal courts considering whether to grant preliminary approval of a class action settlement.

Fed. R. Civ. P. 23(e), Committee Notes. “[I]n weighing a grant of preliminary approval, district

courts must determine whether ‘giving notice is justified by the parties’ showing that the court


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will likely be able to: (i) approve the proposal under Rule 23(e)(2); and (ii) certify the class for

purposes of judgment on the proposal.’” In re Payment Card Interchange Fee & Merch. Disc.

Antitrust Litig., No. 05MD1720MKBJO, 2019 WL 359981, at *12 (E.D.N.Y. Jan. 28, 2019)

(citing Fed. R. Civ. P. 23(e)(1)(B)(i–ii)). Therefore, although the factors cited in Rule 23(e)(2)

“apply to final approval, the Court looks to them to determine whether it will likely grant final

approval based on the information currently before the Court”—those factors are as follows:

       (A) the class representatives and counsel have adequately represented the class;

       (B) the proposal was negotiated at arm’s length;

       (C) the relief provided for the class is adequate, taking into account:

               (i) the costs, risks, and delay of trial and appeal;

               (ii) the effectiveness of any proposed method of distributing relief to the class,
               including the method of processing class-member claims;

               (iii) the terms of any proposed award of attorney’s fees, including timing of
               payment; and

               (iv) any agreement required to be identified under Rule 23(e)(3); and

       (D) the proposal treats class members equitably relative to each other.

Id. (citing Fed. R. Civ. P. 23(e)); accord Hays v. Eaton Grp. Attorneys, LLC, No. CV 17-88-

JWD-RLB, 2019 WL 427331, at *4 (M.D. La. Feb. 4, 2019). Plaintiff will address each of these

factors, many of which overlap, below, to the extent they are applicable. There is no separate

agreement required to be identified under (C)(iv).

               2.      The Class Representatives and Class Counsel have adequately
                       represented the Class.

       Rule 23(e)(2)(A) looks to whether the representative parties have adequately represented

the class. See Snyder v. Ocwen Loan Servicing, LLC, No. 14-8461, 2019 WL 2103379, at *4 (N.D.

Ill. May 14, 2019); Amchem Products v. Windsor, 521 U.S. 591, 117 S.Ct. 2231, 2251, 138 L.Ed.


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2d 689 (1997) (courts look at whether the representatives’ interest are in any way antagonistic to

or in conflict with those of the class members). Where, as here, the injuries allegedly suffered by

the named Plaintiff are the same as those that the class is alleged to have suffered, the adequacy

requirement is usually satisfied. Duhaime v. John Hancock Mutual Life Ins. Co., 177 F.R.D. 54,

63 (D. Mass. 1997).

       Plaintiffs, Mr. Godfrey, Mr. Sheldon, and Ms. Kopinski, have proven to be exemplary

class representatives and in fact this Court has already found them to be adequate in certifying

the proposed class with Plaintiffs as representatives. Dkt. 205 at 12–14. Mr. Godfrey, Mr.

Sheldon, and Ms. Kopinski have spent significant time on behalf of the putative class in this

hard-fought litigation, spanning approximately three and a half years. Their efforts include

responding to counsel requests, reviewing documents, and providing deposition testimony. If Mr.

Godfrey, Mr. Sheldon, and Ms. Kopinski had not been willing to act as class representative and

prosecute the case on behalf of others similarly situated, there would be no settlement benefits at

all for other Class Members.

       In addition, Class Counsel are well qualified and vigorously prosecuted this class action,

including engaging in substantial discovery efforts, filing or responding to the numerous motions

listed above, defending three pleadings, successfully moving for class certification, attending two

separate mediation sessions, and preparing a Partial Summary Judgment Motion and opposing

Defendants’ Summary Judgment Motions. Class Counsel have long experience in employee

benefits and ERISA law and their significant expertise is demonstrated by the declarations

attached to Plaintiff’s Motion for Class Certification. Boyko Decl. ¶ 8; see also Dkts. 160-6 &

160-7. The “adequacy of representation” factor of Rule 23(e)(2)(A) is met. Further, the Court




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has already ruled that Class Counsel are qualified and experienced in certifying this lawsuit as a

class action. Dkt. 205.

                  3.      The proposed settlement was negotiated at arm’s length.

          The Settlement here was achieved through extensive, arm’s length settlement

negotiations under the guidance of the mediator, Robert A. Meyer, Esq., and continued

discussion between the Parties. Mr. Meyer has extensive experience mediating complex class

actions and commercial disputes, including ERISA class actions. 7 In addition to the in-person

mediation sessions, Mr. Meyer communicated with the Parties by phone and e-mail on numerous

occasions before, during, and after mediation to assist in achieving a settlement. With his

assistance, the Parties ultimately reached agreement to key settlement terms on April 18, 2022.

          Prior to mediating with Mr. Meyer, the Parties had already engaged in robust discovery.

“The stage of the proceedings at which settlement is reached is important because it indicates

how fully the district court and counsel are able to evaluate the merits of plaintiffs' claims.”

Armstrong v. Bd. Of Dirs. Of Milwaukee, 616 F.2d 305, 325 (7th Cir. 1980), overruled on other

grounds by Felzen v. Andreas, 134 F.3d 873 (7th Cir. 1998). In this case, the Parties have

completed both fact discovery (including 14 fact depositions) and expert discovery, as well as

summary judgment briefing, and therefore had a thorough opportunity to test their claims and

defenses and understand the strengths and weaknesses of their positions.

          Having a comprehensive grasp of the facts and the legal issues, the Parties prepared

detailed, substantive mediation briefs. The Parties’ respective positions and arguments were also

subjected to vigorous questioning and analysis by the mediator, Mr. Meyer.




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    Mr. Meyer’s experience and qualifications are detailed at http://www.jamsadr.com/meyer/.

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       In sum, the robust discovery process, the pre-mediation discussions, the mediation

briefing, the sharing of information during mediation, and the involvement of Mr. Meyer support

a finding that the settlement was reached through robust investigation and was fairly and

honestly negotiated.

               4.      The relief provided for the Class is adequate taking into account the
                       costs, risks, and delay of trial and appeal.

       Litigation would be lengthy and expensive if this action were to proceed. Trial was set for

the summer of 2022, and regardless of the outcome, there likely would have been appeals that

followed, further delaying resolution and causing more expense. This factor weighs strongly in

favor of approval.

       And there were certainly risks of proceeding through trial and the appeals process as

Plaintiffs, GreatBanc, and McBride Defendants had vastly different views about Defendants’

liability and the likely outcome of the litigation. Plaintiffs’ core allegations — that certain

Defendants breached their fiduciary duties in three transactions, the 2013 Recapitalization, the

Compensation Decisions, and the 2017 Transaction, and Defendants committed prohibited

transactions in the 2013 Recapitalization and 2017 Transaction — rested on facts that were

strongly contested by GreatBanc and McBride Defendants. In addition, the Parties contested

core legal issues that could have been resolved unfavorably to Plaintiffs on appeal.

       Defendants asserted affirmative defenses and vigorously denied all of these allegations

and defended their actions with respect to 2013 Recapitalization, the Compensation Decisions,

and 2017 Transaction. Defendants pointed to evidence that supports the conclusion that they




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have no liability and retained experts who support such conclusions. If the Lawsuit were to

proceed through trial, Plaintiffs would have to overcome these defenses and arguments.

        The Parties also strongly disagree on the proper measure of damages. Defendants contend

that the Plan and its participants were not harmed by the 2013 Recapitalization the Compensation

Decisions, or the 2017 Transaction. Plaintiffs, on the other hand, argued that the value of the

Plan’s shares was significantly depressed through the actions of Defendants during the Class

Period. The Parties have exchanged various letters and position papers supporting their differing

views of what a proper measure of damages should be and presented their theories extensively in

fact discovery, expert discovery, and during summary judgment briefing.

        These fact intensive inquiries regarding damages would have likely led to a battle of

experts and conflicting evidence and testimony, which would have placed the ultimate outcome

of the litigation in doubt, because no party could reasonably be certain that its expert or evidence,

or positions on respective burdens of proof, would carry the day and be considered dispositive.

Likewise, there was uncertainty about the measure of damages that the Court would apply in this

case.

        In light of the inherent uncertainty, the total settlement amount of $16,500,000.00 is a

good result for the Class. As courts in this Circuit have noted, “[a] settlement need not provide

the class with the maximum possible damages to be reasonable.” Douglas v. W. Union Co., No.

14-1741, 2018 WL 4181484, at *6 (N.D. Ill. Aug. 31, 2018). A district court should not “reject[

]” a settlement “solely because it does not provide a complete victory to the plaintiffs,” for “the

essence of settlement is compromise.” Isby v. Bayh, 75 F.3d 1191, 1200 (7th Cir. 1996) (internal

quotation marks omitted). A settlement is properly “a bilateral exchange . . . where both sides

gain as well as lose something.” In re Gen. Motors Corp. Engine Interchange Litig., 594 F.2d



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1106, 1135 (7th Cir. 1979) (internal quotation marks omitted). Indeed, even recoveries

representing a very small percentage of the defendant’s maximum exposure may be found to be

fair, adequate and reasonable. See, e.g., Behrens v. Wometco Enters., Inc., 118 F.R.D. 534, 542

(S.D. Fla.1988) (“A settlement can be satisfying even if it amounts to a hundredth or even a

thousandth of a single percent of the potential recovery.”); Newbridge Networks Sec. Litig., No.

94-1678, 1998 WL 765724, at *2 (D.D.C. Oct. 23, 1998) (“an agreement that secures roughly six

to twelve percent of a potential recovery . . . seems to be within the targeted range of

reasonableness”); In re Rite Aid Corp. Sec. Litig., 146 F. Supp. 2d 706, 715 (E.D. Pa. 2001)

(noting that since 1995, class action settlements have typically “recovered between 5.5% and

6.2% of the class members’ estimated losses”).

       Where the Class faces numerous risks of losing, including at trial or on appeal, not to

mention the years of delay should this Lawsuit proceed through an appeal, the Settlement

Agreement represents the best realistic recovery for all members of the Class, and it is well

within the range of possible approval.

       Although it is not an enumerated factor in amended Rule 23, courts have traditionally

considered competent counsel’s evaluation of risk and adequacy of relief. Courts are “entitled to

rely heavily on the opinion of competent counsel,” Gautreaux v. Pierce, 690 F.2d 616, 634 (7th

Cir. 1982) (citation omitted), and counsel for the Parties are competent and have experience in

ERISA litigation, including ESOP litigation. Moreover, as discussed below with respect to the




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extensive litigation and negotiation process that occurred before Settlement, there is no indication

that it is the result of collusion.

         For the reasons stated above with respect to the strength of Plaintiffs’ case compared to

the amount of the settlement, serious questions of law and fact exist, putting both sides at risk of

an adverse result.

        Compared to the costs, risks and delay of trial and appeal, the immediate and certain

payment of $16,500,000.00 to the Class outweighs the uncertain possibility of a greater amount

in the future, particularly given the amount of time it would take—including trial, post-trial and

post-judgment briefing, and appeals—for any judgment to be reduced to actual payment to the

members of the Class. For these reasons, the immediate contribution of $16,500,000.00

outweighs the mere possibility of future relief of an uncertain amount.

                5.       Additional Rule 23(e)(2) Factors

        In addition to the above, Rule 23(e)(2)(C) requires the Court to consider: whether

the relief provided for the class is adequate, taking into account:

                 (ii) the effectiveness of any proposed method of distributing relief to the class,
                including the method of processing class-member claims;

                (iii) the terms of any proposed award of attorney’s fees, including timing of
                payment.

And Rule 23(e)(2)(D) requires that the Court consider whether class members are treated

equitably relative to each other. All of these factors also weigh heavily in favor of approval.

        The Settlement Agreement offers cash compensation in the aggregate amount of

$16,500,000.00 with the net amount (after payment of such attorneys’ fees and costs, including

notice and related costs, and Plaintiffs’ Service Awards as may be allowed by the Court)

guaranteed to be paid to the Class Members. There will be no reversion of any part of the



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Settlement Amount to Defendants. Payments will be made automatically, making the distribution

process highly effective.

       The Plan of Allocation, Exhibit 2 to the Settlement Agreement, will allocate the Net

Settlement Fund to each Class Member in proportion to the vested company shares that he or she

held in the Plan compared to the total vested company shares held in the Plan by all Class

Members. Such a plan treats all Class Members equally and equitably.

       With regard to attorneys’ fees, Class Counsel will apply for Court approval of an award

of attorneys’ fees in a separate motion of no more than $5,500,000, which amount has been

calculated using the standard set forth in Synthroid II. Class Counsel will also seek

reimbursement for litigation expenses, currently estimated to be $962,226.33, not to exceed

$979,000. The requested fee is within the range of approved fee awards in this jurisdiction. The

Class will be notified of the amount of the fees and litigation expenses to be requested in the

Notice. The attorney’s fees and expenses shall be paid from the Settlement Amount.

       Each of these additional factors thus favors approval.

       All of the factors discussed in caselaw and in Rule 23(e)(2) thus support preliminary

approval of the proposed Settlement. Accordingly, Plaintiffs and Class Counsel request that the

Court grant preliminary approval and permit notice to the Class.

       B.      The Court Should Approve the Notice Plan and Schedule a Final Approval
               Hearing.

       Pursuant to Federal Rule of Civil Procedure 23(e)(1) and (e)(5), the Settlement

Agreement provides for notice to the Class, and an opportunity for Class Members to object to

approval of the Settlement and to Class Counsel’s fee petition. See Exhibit A to the Proposed

Preliminary Approval Order. The Parties have agreed, subject to Court approval, to a notice plan,

which calls for individual mailed notice that will provide Class Members with sufficient


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information to make an informed decision about whether to object to the proposed Settlement.

Id. The Class Notice informs Class Members of the nature of the action, the litigation

background and the terms of the agreement, including the definition of the Class, the relief

provided by the Settlement Agreement, the intent of Class Counsel to seek fees and costs, the

Service Awards to Plaintiffs to be sought, the scope of the releases and binding nature of the

Settlement on Class Members, and the uncertain nature of litigation. Id. In addition, the Class

Notice informs Class Members that additional documents, including the Settlement Agreement

and Plaintiff’s Motion for Award of Attorneys’ Fees, will be available via the settlement website.

Id. The Class Notice also describes the procedure for objecting to the Settlement and states the

date, time and place of the final approval hearing. Id. The Class Notice and the manner in which

it will be disseminated to Class Members satisfy Rule 23(e)(1) and constitutional due process

concerns.

       Plaintiffs request that the Court approve ILYM as Settlement Administrator and Escrow

Agent. As detailed in Exhibit B to the Boyko Decl., ILYM has extensive experience in the

administration of settlements of this type.

       Finally, Plaintiffs request that the Court schedule a fairness hearing on Plaintiffs’ motion

of an award of reasonable attorneys’ fees and Service Awards to Plaintiffs, as set forth in the

Proposed Preliminary Approval Order. This will establish a reasonable and efficient process for

disseminating notice, providing the opportunity for Class Members to object to approval of the

Settlement, and considering final approval of the Settlement.

VI.    CONCLUSION

       As set forth above, the proposed settlement meets the standard for preliminary approval.

Accordingly, Plaintiffs respectfully request that the Court issue an Order: (a) granting

preliminary approval of the Settlement Agreement; (b) approving the proposed Class Notice; (c)
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appointing ILYM as the Settlement Administrator; (d) approving the Plan of Allocation; (e)

appointing ILYM as Escrow Agent; (f) setting a date for a Fairness Hearing; and (g) setting a

date for a hearing on Class Counsels’ motion for fees and costs and the payment of a Service

Award to Plaintiffs.

Dated: May 16, 2022                         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on May 16, 2022, I caused a true and correct copy of the foregoing

to be filed electronically using the Court’s CM/ECF system and to be thereby served upon all

registered participants identified in the Notice of Electronic Filing in this matter on this date.

                                                               /s/ Mark G. Boyko
